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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA

                  v.                               Case No. 19-cr-18 (ABJ)

  ROGER J. STONE, Jr.,

                               Defendant.

           TRANSCRIPT OF “FRANK PENTANGELI” TESTIMONY SCENE
                     FROM THE GODFATHER: PART II

CUT TO: Pentangeli departing a military barracks in a motorcade protected by armed military
escorts.


CUT TO: Pentangeli is escorted into the Senate Committee room, accompanied by several
bodyguards.


BAKGROUND VOICE: Here he comes now.


PENTANGELI: (Confidently smiling and chewing gum) There’s more people than a ballgame
here! Hey that’s Willie Cicci.


CUT TO: Pentangeli turns his head and is smile fades. He sees Michael Corleone entering the
room with another man. Both men are frisked. The unknown man stares at Pentangeli and looks
unhappy. The unknown man and Corleone both look toward Pentangeli. The camera flashes back
and forth between close ups of Pentangeli’s face and the unknown man’s face, interspersed with a
shot of Corleone. Pentangeli looks down and appears unhappy.


CUT TO: Pentageli stands next to the witness’ table.


CHAIRMAN: This Committee will come to order. State your name, please.


PENTANGELI: Frank Pantangeli.


CHAIRMAN: And where were you born?


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PENTANGELI: Partinico. It’s outside of Palermo.


CHAIRMAN: And where do you live now?


PENTANGELI: I live – uh – in an army barracks with the FBI guys.


[Laughter in the crowd]


CHAIRMAN: We have here, finally, a witness that will further testify to Michael Corleone’s rule
over a criminal empire that controls all of the gambling in this country, and perhaps in other
countries. [Cut to Pentangeli lighting a cigar] This witness has had no buffer between himself and
Michael Corleone. [Cut to Corleone and the unknown man sitting together in the audience] He can
corroborate our charges on enough counts for this committee to recommend a charge of perjury
against Michael Corleone. Senator --


SENATOR: Thank you, Chairman. [Pentangeli looks over his shoulder.] Mr. Pentangeli
[Pentangeli sees Corleone whispering something to the unknown man] Mr. Pentangeli. Were you
a member of the Corleone family? Did you serve under caporegime Peter Clemenza – under Vito
Corleone, also known as “The Godfather?”


PENTANGELI: (pauses, hesitates, shakes head) I…I…I never knew no Godfather. [Cut to:
surprised look on a Senator’s face] I got my own family, Senator. [Cut to: Several Senators look
surprised. Chatter and muttering in the crowd]


SENATOR #2: Mr. Pentangeli, you are . . . you are contradicting a sworn statement that you’ve
previously made to me and signed. [Background chattering. Corleone is sitting back confidently
and whispering to the unknown man in the background] I ask you again, sir, here and now under
oath, were you at any time a member of a crime organization headed by Michael Corleone? [Cut
to Corleone and the unknown man sitting together]


PENTANGELI: I don’t know nothin’ about that. Oh . . . (Glances and gestures at Corleone and
the unknown man) . . . I was in the olive oil business with his father. But that was a long time ago,
that’s all. [Cut to: more Senators chattering and looking surprised. Chattering noises in the
background]


CHAIRMAN: We have a sworn affidavit! We have it. Your sworn affidavit that you murdered on
the orders of Michael Corleone. Do you deny that confession? And do you realize what will happen
as a result of your denial?



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PENTANGELI: (Puffs on a cigar, looks up, smiles) Look, the FBI guys, they promised me a deal.
So I, so I made up a lot of stuff about Michael Corleone, ‘cause that’s what they wanted. But, but
it was all lies…uh…everything. And they kept saying, ‘Michael Corleone did this’ and ‘Michael
Corleone did that’… so I said...uh…‘yea sure.’”


SENATOR #2: Mr. Corleone, would you kindly identify for the committee the gentleman sitting
to your left?


CUT TO: Corleone with the unknown man sitting to his left. Tom Hagen, who is seated next to
them stands up.


TOM HAGEN: I can answer that. His name is Vincezo Pentangeli.


SENATOR #3: Is he related to the witness?


TOM HAGEN: He is, I believe, his brother.


SENATOR #2: Will he come forward and be sworn, sir?


TOM HAGEN: Sir, this man does not understand English. He came at his own expense to aid his
brother in his time of trouble. He’s not under subpoena, and his reputation in his own country is
impeccable.


SENATOR #2: Are you saying he knows nothing about these matters?


TOM HAGEN: To my knowledge, nothing.


CHAIRMAN: I’m gonna find out what the hell happened here! All right, this committee is now
adjourned. The witness is excused.


CUT TO: As everyone in the room stands up, Pentangeli initially stays seated, puffing on a cigar.
He then finally stands up.


TOM HAGEN: Senator! Senator! This committee owns an apology! This committee owes an
apology! An apology, Senator!


CUT TO: As people exit the hearing room, Pentangeli’s brother watches Pentangeli as he exits.

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Tom Hagen tells something to Pentangeli’s brother in Italian.




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